       Case 1:25-cv-01235-JAV          Document 29-2          Filed 04/07/25    Page 1 of 2




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 MERIDA CAPITAL PARTNERS III LP,
                                                          25 Civ. 01235 (JAV)
                                   Plaintiff,

                     - against -

 JACOB FERNANE, PACIFIC LION LLC,
 LIQUEOUS LP, “ABC CORP.” AND JOHN
 DOES 1-3.
                                   Defendants.



         DECLARATION OF RICHARD HAWKINS IN SUPPORT OF
   DEFENDANTS JACOB FERNANE, PACFIC LION LLC AND LIQUEOUS LP’S
  MOTION TO COMPEL ARBITRATION OR IN THE ALTERNATIVE TRANSFER
           VENUE TO THE SOUTHERN DISTRICT OF FLORIDA

        I, Richard Hawkins, pursuant to 28 U.S.C. § 1746 hereby declares as follows:

       1.      I am over 18 years of age, of sound mind, and otherwise competent to make this

Declaration. The evidence set out in the foregoing Declaration is based on my personal

knowledge.

       2.      I am the Vice President, Operations & Compliance of Pacific Lion LLC.

       3.      I submit this Declaration in support of Jacob Fernane, Pacific Lion LLC and

Liqueous LP’s Motion to Compel Arbitration or in the Alternative Transfer Venue to the United

States District Court for Southern District of Florida.

       4.      Attached hereto as “Exhibit 1” is a true and correct copy of the subject Beneficial

Ownership Retention Repurchase Option agreement dated as of June 26, 2023 by and between

Plaintiff Merida Capital Partners III LP and Defendant Pacific Lion LLC.
      Case 1:25-cv-01235-JAV          Document 29-2        Filed 04/07/25     Page 2 of 2




       5.      Attaced hereto as “Exhibit 2” is a true and correct copy of the subject amendment to the

Beneficial Ownership Retention Repurchase Option agreement dated as of June 26, 2023 by and between

Plaintiff Merida Capital Partners III LP and Defendant Pacific Lion LLC.


       I hereby declare under penalty of perjury this 5th day of April, 2025 that the foregoing is true and
correct.

                                                    _________________________
                                                    Richard Hawkins
